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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

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                                                             March 4, 2020

Filed Via ECF
The Honorable Claire C. Cecchi
United States District Judge
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Matthew Brent Goettsche, et al.,
                          Crim. No. 19-877

Your Honor:

        The United States of America, through the undersigned, respectfully
submits this letter to: (1) provide the Court with a proposed protective order to
facilitate discovery in this case; and (2) respond to certain points raised in the
February 21, 2020 letter submitted by defendant Matthew Brent Goettsche
(Dkt. #53) (“the Goettsche Letter”), in support of a competing scheduling order.

The Joint Proposed Protective Order

      The Government respectfully requests that the Court issue the proposed
protective order included with this filing, which has been agreed to by
defendants Goettsche, Weeks, and Abel. 1 Under Federal Rule of Criminal
Procedure 16(d)(1), this Court has authority to, “for good cause, deny, restrict,
or defer discovery or inspection, or grant other appropriate relief.” Fed. R.
Crim. P. 16(d)(1).




1Counsel for Abel has informed the undersigned that he consents to the entry
of this protective order. Abel’s counsel is currently in trial and, as a result, has
not been able to provide an executed copy of the protective order as of the time
of this filing. The Government respectfully requests that the Court enter this
proposed protective order, and the Government will make a supplemental filing
upon receiving an executed signature page from Abel’s counsel.
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       Here, the Government’s discovery consists of hundreds of thousands of
records and includes personally identifying information of victims of the fraud
scheme and other individuals. Under the circumstances, the Government
submits that there is good cause to enter the proposed protective order
because it would be unduly burdensome—if not impossible—to appropriately
protect what should be confidential information without a protective order in
place.

      Accordingly, the Government respectfully requests that the Court sign
the requested protective order.

Responses to the Goettsche Letter

      Before addressing the specific points raised in the Goettsche Letter, the
Government respectfully refers the Court to Section III of the Government’s
February 21, 2020 letter (Dkt. #51) (the “February 21 Letter”), which explains
why (1) the initial production of documents should be March 17, as opposed to
March 6; and (2) the demand by Defendants Weeks and Goettsche—by which
the Government would be required to return seized devices and turn over all
non-privileged, covertly-seized records in the Government’s initial production—
is unworkable.

      The Government now responds to: (1) Goettsche’s request for a status
conference with the Court in April 2020, as opposed to at the end of the
Government’s proposed discovery period; (2) the two objections outlined in the
Goettsche Letter; and (3) Goettsche’s arguments against this Court determining
that this multi-defendant bitcoin case involving millions of records should be
considered “complex” for purposes of the Speedy Trial Act.

      I.    The Court Should Schedule a Status Conference in October to
            Preserve Resources and to Allow the Parties the Opportunity
            to Resolve Discovery Issues Without Involving the Court

      Goettsche requests that this Court hold a status conference in early April
to “advise the Court of any continued need for a Speedy Trial Act continuance
and when the defense can be ready for trial.” Goettsche Letter at 4. But
Goettsche’s request to involve the Court in April 2020 is premature and almost
certainly will involve the Court in discovery matters that the parties likely will
resolve without judicial intervention.

      The Government is currently preparing a discovery production to each of
the three arraigned defendants in this case, which will consist of at least
500,000 records the Government obtained while it was covert and, likely,
substantially more. In preparation of this initial production for March 17,
2020, the Government has initiated steps for a second production to follow
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thereafter. The defendants will not have had sufficient time by early April to
meaningfully evaluate the initial production and raise—much less resolve—
discovery issues with the Government. And, under either proposal, the parties
will still be in the midst of the filter process in early April, which may require
judicial intervention.

      Despite the current impasse regarding scheduling, the parties have
engaged in productive meet-and-confer discussions regarding discovery and
other matters and have had open lines of communication. Rather than
schedule a conference prematurely, the Government respectfully requests that
the Court permit the parties sufficient time to produce the large volume of
discovery in this case, address and hopefully resolve any discovery disputes,
and then, if resolution cannot be resolved and the matter needs to be decided
before October, file motions with the Court. Such a process will allow the
parties time to focus on the case instead of preparing for a conference and will
protect this Court’s resources.

        II.   Goettsche’s Objections to the Proposed Scheduling Order

      Goettsche outlines two objections to the Government’s proposed
scheduling order: (1) there is no deadline for the Government to return
evidence that was seized from Goettsche’s residence on December 10, 2019;
and (2) the rolling production of covertly obtained discovery, rather than
immediate and comprehensive production.

      First, the Government has processed Goettsche’s devices and the devices
remain in evidence, which is authorized by the warrants the Government
obtained in connection with this case. In excess of its discovery obligations,
the Government has taken several steps to provide Goettsche with information
regarding these seized materials. For example:

•       On January 22, 2020, the Government provided Goettsche with an
        inventory of materials that were seized from his house.

•       On February 8, 2020, the Government informed Goettsche that providing
        his passwords for certain locked devices would expedite the production of
        that data. Goettsche has not provided that information.

•       Most recently, the Government has worked with Goettsche to facilitate
        the voluntary production of certain physical devices seized from
        Goettsche’s residence and to provide a copy of the BitClub server
        referenced in Goettsche’s letter.

In other words, the Government has taken several good faith steps to exceed its
Rule 16 obligations regarding seized devices. Returning them—particularly in
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the expedited manner requested by Defendants Goettsche and Weeks—is
beyond the Government’s obligations under Rule 16 and should not be
included in a scheduling order in this case. In addition, the production of the
responsive contents of the devices seized from Goettsche’s residence
necessitates a filter procedure that the parties have discussed but have not
finalized and then time to conduct the filter and responsiveness reviews.
Accordingly, the immediate production of physical devices is untenable.

       Second, processing and producing the substantial volume of electronic
discovery in this multi-defendant matter requires significant resources. The
Government anticipates production of at least 500,000 records that came from
the covert portion of this investigation, including the “critical email and chats
referred to in the indictment” referenced by the Goettsche Letter. The
Government continues to process the approximately 1.8 million records it
obtained during the covert portion of the investigation, along with the copies of
the BitClub server it obtained after the December 10, 2019 takedown and the
88 electronic devices seized on the day of the takedown. The Government is
taking steps to prepare subsequent rolling productions to Defendants. In other
words, Goettsche’s concern that the Government will use its “unchecked
power” to wait and produce the most meaningful discovery until August 2020
is unfounded. And, again, the filter process that the Government is
undertaking to reasonably protect from disclosure of attorney-client material
also necessitates time for defense counsel to provide the Government with
proposed search terms and for the filter AUSA to work with defense counsel
through that process.

      Moreover, the Government has taken steps to ensure the integrity of its
own computer infrastructure and the data it produces to Defendants. Thus,
Goettsche’s assertions that the Government’s standard eDiscovery methods are
are “unnecessary” or “wasteful” are misplaced.

      Accordingly, the Government respectfully requests that the Court adopt
the Government’s proposal for rolling discovery in this case.

      III.   Goettsche’s Arguments Against Finding This Case Complex

        Goettsche makes three arguments in opposition to the Government’s
request that this case be declared complex for purposes of the Speedy Trial Act.
First, Goettsche argues that whatever complexity exists is by virtue of the
Government’s tactical decision to indict and arrest the defendants rather than
approaching them without charges. But Goettsche is hardly well-positioned to
second guess the Government’s tactics in challenging the complex case
designation. Nor are the Government’s investigative choices relevant to the
practical consideration of whether the case is complex. In any event, this case
involves a high-dollar, global scheme, several defendants with international
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connections, and millions of dollars of resources, which negated the possibility
of a covert investigative approach prior to arrests. Indeed, federal magistrates
have now twice ordered Defendants Goettsche and Weeks detained as flight
risks for similar reasons. The Court should not dismiss the size and array of
evidence collected on the day of and subsequent to the arrests in assessing
complexity merely because the Government opted against giving Defendants an
opportunity to flee or destroy evidence.

        Second, Goettsche insists that the Government’s position on whether
this case should be deemed complex for purposes of the Speedy Trial Act has
“flip-flopped dramatically” because, in response to Goettsche’s argument that
he should be released because this case was too complicated, the Government
pointed out that “the methods by which Goettsche accomplished his criminal
endeavors were sophisticated and intentionally complicated” but that the core
concepts that Goettsche “and others discussed lying to investors and promoted
the scheme without registering it with the SEC” were not so complicated that
the four capable partners at major law firms lacked the resources or know-how
to prepare for trial in his absence. See Goettsche Letter at 3-4. This is not a
flip flop. The complexity assessment under the Speedy Trial Act is plainly met
here given the challenges posed by discovery and the array of factual issues
posed by Defendants’ years-long, multi-national fraud.

       Third, Goettsche argues that the Government’s discovery and seizure of
the BitClub Network servers—which comprise a tremendous amount of data
that must be reconstituted to be meaningfully reviewed—does not warrant a
complex case designation. The Government’s request for the complex case
designation does not rest solely on the size of the server, but instead on the
volume of discovery involved in its entirety, the fact that there are multiple
defendants, one of whom is currently overseas, and the factual underpinnings
of this case.

                                            Respectfully submitted,

                                            CRAIG CARPENITO
                                            United States Attorney




                                            By: Jamie L. Hoxie
                                            Assistant U.S. Attorney




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